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  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §   CASE NO. 1:06-CR-10
                                                  §
 TOMMY DARE HANCOCK                               §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a

 hearing and submitted findings of fact and a recommendation on the defendant’s plea of true. The

 defendant consented to the revocation of his supervised release and waived his right to be present

 and allocute at sentencing. The parties have not objected to Judge Giblin’s report.

          The Court ORDERS that the findings of fact and recommendation on plea of true (#131)

 are ADOPTED. The Court finds that the defendant, Tommy Dare Hancock, violated conditions

 of his supervised release and ORDERS that his supervision is REVOKED. Pursuant to Judge

 Giblin’s recommendation and the parties’ agreement, the Court ORDERS the defendant to serve

 a term of fourteen (14) months imprisonment for the revocation with placement in the Federal

 Correctional Institution (FCI) in Big Spring, Texas, if possible. The Court further ORDERS the

 defendant to serve a new three (3) year term of supervised release after his release from prison.


            Signed this date.
            Jun 4, 2015
